Case 08-13141-BLS Doc 5813-4 Filed 09/25/10 Page1of3

PROPOSED ORDER

Case 08-13141-BLS Doc 5813-4 Filed 09/25/10 Page 2of3

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,' Case No. 08-13141 (KJC)
Debtors. Jointly Administered
Related to Docket No.

ORDER AUTHORIZING DEBTOR TRIBUNE COMPANY TO RETAIN AND EMPLOY
SITRICK AND COMPANY AS CORPORATE COMMUNICATIONS CONSULTANTS
PURSUANT TO 11 U.S.C. §§ 327(a), NUNC PRO TUNC TO AUGUST 26, 2010

Upon consideration of the Application’ of Tribune Company (“Tribune”), one of
the debtors and debtors in possession in the above-captioned chapter 11 cases (each a “Debtor”
and collectively, the “Debtors”), for an order authorizing Tribune to retain and employ Sitrick
And Company, a division of Sitrick Brincko Group, LLC (‘‘Sitrick”) as corporate

communications consultants pursuant to section 327(a) of the Bankruptcy Code; and upon

' The Debtors in these chapter 1] cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company Il, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943), KSWB Inc. (7035), KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598), Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223), Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603), Southern Connecticut Newspapers, Inc.
(1455), Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684), The Baltimore Sun Company
(6880); The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337),
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325), Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438), Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347), Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975), ValuMail, Inc.
(9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX
Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
Illinois 60611.

* Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the Application.
Case 08-13141-BLS Doc 5813-4 Filed 09/25/10 Page 3of 3

consideration of the Sitrick Declaration; and it appearing that the Court has jurisdiction over this
matter pursuant to 28 U.S.C. §§ 157 and 1334; and due and adequate notice of this Application
having been given under the circumstances; and it appearing that Sitrick is a “disinterested
person” as defined in section 101(14) of the Bankruptcy Code and as required by section 327(a)
of the Bankruptcy Code; and after due deliberation, and good and sufficient cause appearing
therefor, it is hereby

ORDERED that the Application is granted; and it is further

ORDERED, that Sitrick is authorized to serve as corporate communications
consultant to the Debtors on the terms provided by the Application and the Engagement Letter,
nunc pro tunc to August 26, 2010; and it is further

ORDERED, that Sitrick shall be compensated in accordance with the provisions
of sections 330 and 331 of the Bankruptcy Code and applicable provisions of the Federal Rules
of Bankruptcy Procedure, the Local Rules of Practice and Procedure for the United States
Bankruptcy Court for the District of Delaware, and applicable orders of this Court; and it is
further

ORDERED, that the Debtors are authorized to enter into and perform their
obligations, including indemnification obligations, under and subject to the limitations contained
in the Engagement Letter; and it is further

ORDERED, that the Court shall retain jurisdiction to hear and determine all
matters arising from or related to the implementation of this Order.

Dated: Wilmington, Delaware
October _, 2010

The Honorable Kevin J. Carey
Chief United States Bankruptcy Judge
